Case 0:10-cv-60530-KMM Document 19 Entered on FLSD Docket 10/25/2010 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                       Case No.: 10-60530-Civ-Moore/Simonton

  LUIS E. CUETO,

        Plaintiff,

  v.

  FOCUS RECEIVABLES MANAGEMENT, LLC.

       Defendant.
  _________________________________________/

         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii) and having amicably resolved all

  matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

  this action with each party to bear its own attorney’s fees and costs except as

  otherwise agreed by the parties. The parties request the Court reserve jurisdiction

  to enforce the terms of the parties settlement agreement for 60 days, up to

  December 25, 2010.

  Donald A. Yarbrough, Esq.               Carlos D. Cabrera, Esq.
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  By: /s/ Donald A. Yarbrough             By: /s/ Carlos D. Cabrera
  Donald A. Yarbrough, Esq.               Carlos D. Cabrera, Esq.
Case 0:10-cv-60530-KMM Document 19 Entered on FLSD Docket 10/25/2010 Page 2 of 2




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  _______________________________/

                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 25, 2010, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se
  parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to
  receive electronically Notices of Electronic Filing.

                                               s/Donald A. Yarbrough
                                               Donald A. Yarbrough, Esq.


                                   SERVICE LIST

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